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 6   Attorneys for Defendant
     KIEDOCK KIM
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                 IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                            EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                      CASE NO: 2:10-CR-0255 GEB

12                      Plaintiff,
                                                    STIPULATION AND [PROPOSED]
13         v.                                       ORDER CONTINUING STATUS
                                                    CONFERENCE AND EXCLUDING
14   FRENCH GULCH NEVADA MINING                     TIME UNDER THE SPEEDY TRIAL
     CORPORATION, BULLION RIVER                     ACT
15   GOLD CORPORATION, PETER                        _______________________________
     MARTIN KUHN, and KIEDOCK KIM,
16
                        Defendants.
17
     _____________________________/
18

19         The defendant, KIEDOCK KIM, through his counsel of record, Segal & Kirby

20   LLP, and plaintiff United States of America, through its counsel, Assistant United

21   States Attorney Samuel W ong, agree and stipulate that the Status Conference

22   currently set for April 22, 2011, at 9:00 a.m. may be continued for an approximate

23   period of 60 days, or until June 24, 2011, at 9:00 a.m. in order to permit the

24   defendant the continued opportunity to provide reciprocal discovery to the

25   government, to meet with the government to discuss the discovery, and to prepare

26   the case for further proceedings.

27         The parties agree a continuance is necessary for these purposes, and

28   accordingly, both parties further agree and stipulate that time should be excluded
                                            1
         STIPULATION AND [PROPOSED] ORDER CONTINUING STATUS CONFERENCE AND
                      EXCLUDING TIME UNDER THE SPEEDY TRIAL ACT
       Case 2:10-cr-00255-TLN Document 33 Filed 04/26/11 Page 2 of 3

 1   from April 22, 2011, through June 24, 2011 from computation under the Speedy Trial

 2   Act pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T4 (ongoing

 3   preparation of defense counsel) due to the need to provide defense counsel with the

 4   reasonable time to prepare and to provide reciprocal discovery to the government

 5   taking into account the exercise of due diligence.

 6         IT IS SO STIPULATED.

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     Dated: April 19, 2011                   Respectfully submitted,
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                                             SEGAL & KIRBY LLP
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10                                    By:    /s/ Malcolm Segal
                                             MALCOLM SEGAL
11                                           Attorneys for Defendant
                                             KIEDOCK KIM
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13
     Dated: April 19, 2011            By:    /s/ Samuel W ong
14                                           SAMUEL W ONG
                                             Assistant United States Attorney (per
15                                           authorization)

16

17                                           ORDER

18         UPON GOOD CAUSE SHOW N and the stipulation of all parties, it is ordered

19   that the Status Conference currently set for April 22, 2011, at 9:00 a.m. be continued

20   to June 24, 2011, at 9:00 a.m.. Based upon the representation of the parties,

21   including defense counsel, and good cause appearing therefrom, the Court hereby

22   finds that it is unreasonable to expect adequate preparation for pretrial proceedings

23   and trial itself within the time limits established in 18 U.S.C. § 3161, and the

24   requested continuance is necessary to provide defense counsel reasonable time

25   necessary for effective preparation and to continue to provide reciprocal discovery to

26   the government, taking into account the exercise of due diligence. The Court finds

27   the ends of justice to be served by granting a continuance outweigh the best

28   interests of the public and the defendant in a speedy trial.
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         STIPULATION AND [PROPOSED] ORDER CONTINUING STATUS CONFERENCE AND
                      EXCLUDING TIME UNDER THE SPEEDY TRIAL ACT
       Case 2:10-cr-00255-TLN Document 33 Filed 04/26/11 Page 3 of 3

 1         It is therefore ordered that the time from April 22, 2011 up to and including the

 2   June 24, 2011 Status Conference shall be excluded from computation of time within

 3   which the trial of this matter must be commenced under the Speedy Trial Act

 4   pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T4 (ongoing

 5   preparation of defense counsel).

 6   Dated: April 25, 2011
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 8                                        GARLAND E. BURRELL, JR.
                                          United States District Judge
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         STIPULATION AND [PROPOSED] ORDER CONTINUING STATUS CONFERENCE AND
                      EXCLUDING TIME UNDER THE SPEEDY TRIAL ACT
